                                                                                                 Case 3:16-cv-02120-EMC Document 348 Filed 07/14/22 Page 1 of 5



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                                                                                                Attorneys for Defendant Academy Mortgage Corporation
                                                                                          13
                                                                                                                          UNITED STATES DISTRICT COURT
                                                                                          14                            NORTHERN DISTRICT OF CALIFORNIA

                                                                                          15    UNITED STATES OF AMERICA, EX                     Civil Action No. 3:16-cv-02120 (EMC) (SK)
                                                                                                REL. GWEN THROWER,
                                                                                          16
                                                                                                                  Plaintiff,                     ACADEMY MORTGAGE
                                                                                          17                                                     CORPORATION'S STATEMENT
                                                                                                       vs.                                       CONCERNING RELATOR'S MOTION TO
                                                                                          18                                                     CONSIDER WHETHER ANOTHER
                                                                                                ACADEMY MORTGAGE                                 PARTY’S MATERIAL SHOULD BE
                                                                                          19    CORPORATION,                                     SEALED

                                                                                          20                      Defendant.                       Judge:    Hon. Edward M. Chen

                                                                                          21

                                                                                          22

                                                                                          23          Pursuant to Local Rule 79-5(f), Academy Mortgage Corporation (“Academy”)
                                                                                          24   respectfully submits this Statement concerning Relator’s Administrative Motion to Consider
                                                                                          25   Whether Another Party’s Material Should be Sealed, ECF 339. As part of her filing, Relator
                                                                                          26   included the Declaration of Jamison Joiner (“Declaration”) and the exhibits therein in support of
                                                                                          27   Relator’s Response to Academy’s Motion for Summary Judgment. On information and belief,
                                                                                          28                                                 -1-
                                                                                                  ACADEMY MORTGAGE CORPORATION'S STATEMENT CONCERNING RELATOR'S MOTION TO CONSIDER
                                                                                                     WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE SEALED, Case No. 3:16-cv-02120 (EMC) (SK)
                                                                                                   Case 3:16-cv-02120-EMC Document 348 Filed 07/14/22 Page 2 of 5



                                                                                           1   Academy cannot access the documents associated with ECF 339 because Relator has filed them

                                                                                           2   under seal. Sometime after that filing, Relator provided Academy with a link to access the

                                                                                           3   Declaration. As a result, Academy’s Statement is based on the exhibits to the Declaration

                                                                                           4   accessible using the link Relator provided. To the extent, the exhibits associated with ECF 339

                                                                                           5   and those accessible using the link Relator provided are not identical, Academy reserves the right

                                                                                           6   to move to seal any new and/or additional exhibits.1

                                                                                           7            The following exhibits should be sealed because they contain highly sensitive borrower

                                                                                           8   information, including names, addresses, credit information, and income information: Exhibits 2-

                                                                                           9   11, 15-16, 18-21, 23-25, 30, 32-35, 41-48, 62-63, 65-70, 72, 75-75ZZZ, and 79. The following

                                                                                          10   exhibits should be sealed because they contain Academy’s trade secret and proprietary
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                                                                                          11   information: Exhibits 1, 12-14, 17, 22, 34-37, 40, 49-52, 61, 64, 71, 75, 78, and 80. Collectively,

                                                                                          12   these exhibits are referred herein as “Exhibits.”
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                                                                                          13                                            STANDARD OF REVIEW

                                                                                          14            Civil L.R. 79-5 requires the designating party to provide:

                                                                                          15            a specific statement of the applicable legal standard and the reasons for keeping a
                                                                                                        document under seal, including an explanation of: (i) the legitimate private or public
                                                                                          16            interests that warrant sealing; (ii) the injury that will result if sealing is denied; and (iii)
                                                                                                        why a less restrictive alternative to sealing is not sufficient[.]
                                                                                          17

                                                                                          18   Civil L.R. 79-5(c)(1). Declarations may be provided when necessary. Id. “A party seeking to

                                                                                          19   seal a judicial record submitted in connection with a dispositive motion bears the burden of

                                                                                          20   establishing that ‘compelling reasons’ support the sealing request.” Corthera, Inc. v. Scottsdale

                                                                                          21   Ins. Co., No. 14-cv-05014-EMC, 2016 U.S. Dist. LEXIS 3250, at *1 (N.D. Cal. Jan. 11, 2016)

                                                                                          22   (citations omitted). “The party seeking to maintain records under seal must articulate compelling

                                                                                          23   reasons supported by specific factual findings that outweigh the general history of access and the

                                                                                          24   public policies favoring disclosure of court records, such as the public interest in understanding

                                                                                          25
                                                                                               1
                                                                                                In reviewing the Declaration accessible through the link Relator provided, Academy noticed that Relator Exhibits.
                                                                                          26   28-29, 31, 38-39, 53, 56-57, 59-60 were listed as enclosed therein. However, those exhibits are not actually enclosed.
                                                                                               To the extent Relator seeks to include those exhibits, or any other exhibits, in support of her Response to Academy’s
                                                                                          27   Motion for Summary Judgment, Academy reserves the right to move to seal those new and/or additional exhibits.
                                                                                          28                                                           -2-
                                                                                                    ACADEMY MORTGAGE CORPORATION'S STATEMENT CONCERNING RELATOR'S MOTION TO CONSIDER
                                                                                                       WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE SEALED, Case No. 3:16-cv-02120 (EMC) (SK)
                                                                                                 Case 3:16-cv-02120-EMC Document 348 Filed 07/14/22 Page 3 of 5



                                                                                           1   the judicial process.” Id. at *2 (citation omitted) (cleaned up). "In general, 'compelling reasons'

                                                                                           2   sufficient to outweigh the public's interest in disclosure and justify sealing court records exists

                                                                                           3   when such 'court files might have become a vehicle for improper purposes[.]’” Orthopaedic

                                                                                           4   Hosp. v. Encore Med. L.P., No. 19-CV-970, 2022 U.S. Dist. LEXIS 15436, at *4 (S.D. Cal. Jan.

                                                                                           5   27, 2022) (citations omitted). “The party seeking protection bears the burden of showing specific

                                                                                           6   prejudice or harm will result if no protection is granted." Id. (citation omitted) (cleaned up).

                                                                                           7   “That the documents sought to be filed under seal are subject to a protective order, without more,

                                                                                           8   does not satisfy the compelling reasons standard.” Id. at *4-5 (citation omitted).

                                                                                           9                                              ARGUMENT

                                                                                          10      I.      Academy Has a Legitimate Interest that Warrants Sealing Which Outweighs the
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                                                                                                          Presumption of Public Access
                                                                                          11

                                                                                          12
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                                                                                                  Academy has a legitimate interest that warrants sealing certain Exhibits to the Declaration.
                                                                                          13   Pursuant to the Stipulated Protective Order entered into in this matter (Dkt. 141), Academy
                                                                                          14   designated these Exhibits as confidential, in part, because they contain highly sensitive borrower
                                                                                          15   information. Exhibits 2-11, 15-16, 18-21, 23-25, 30, 32-35, 41-48, 62-63, 65-70, 72, 75-75ZZZ,
                                                                                          16   and 79 contain various borrower information, including their names, home addresses, credit
                                                                                          17   information, income information, and/or loan numbers. California recognizes a right to privacy
                                                                                          18   in personal financial information. See Lin v. Suavei, Inc., No. 3:20-cv-862, 2021 U.S. Dist.
                                                                                          19   LEXIS 245187, at *7 (S.D. Cal. Dec. 23, 2021); Harris v. Superior Court, 3 Cal. App. 4th 661,
                                                                                          20   664, 4 Cal. Rptr. 2d 564, 567 (1992). Failure to seal these Exhibits would violate the borrowers’
                                                                                          21   right to privacy, and divulge their sensitive financial information to the public.
                                                                                          22           Academy has an overriding legitimate interest that warrants sealing Exhibits 1, 12-14, 17,
                                                                                          23   22, 34-37, 40, 49-52, 61, 64, 71, 75, 78, and 80 to the Declaration. Pursuant to the Stipulated
                                                                                          24   Protective Order entered into in this matter (Dkt. 141), Academy designated these Exhibits as
                                                                                          25   confidential, in part, because they contain or rely upon confidential trade secret and other
                                                                                          26   proprietary commercial information. These Exhibits reveal information about Academy’s trade
                                                                                          27   secrets in the mortgage origination and lending business that it uses to gain a competitive business
                                                                                          28                                                   -3-
                                                                                                  ACADEMY MORTGAGE CORPORATION'S STATEMENT CONCERNING RELATOR'S MOTION TO CONSIDER
                                                                                                     WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE SEALED, Case No. 3:16-cv-02120 (EMC) (SK)
                                                                                                 Case 3:16-cv-02120-EMC Document 348 Filed 07/14/22 Page 4 of 5



                                                                                           1   advantage. These Exhibits contain information about Academy’s financial standing and viability,

                                                                                           2   business development, strategic planning, performance, operations, marketing strategies, loan

                                                                                           3   origination, underwriting, and quality control policies and practices. This information, distributed

                                                                                           4   throughout the exhibit, are considered trade secrets. See Cal. Civ. Code § 3426.1 (Trade secret

                                                                                           5   includes formulas, patterns, compilations, programs, devices, methods, techniques, or processes

                                                                                           6   that “[d]erives independent economic value, actual or potential, from not being generally known

                                                                                           7   to the public or to other persons who can obtain economic value from its disclosure or use[.]”).

                                                                                           8             California recognizes trade secrets, and the protection of the same. See, e.g., Cal. Civ.

                                                                                           9   Code § 3426, et seq. Courts are required to preserve trade secrets, and may do so by sealing court

                                                                                          10   records. See, e.g., Cal. Civ. Code § 3426.5 (“In an action under this title, a court shall preserve
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                                                                                          11   the secrecy of an alleged trade secret by reasonable means, which may include . . . sealing the

                                                                                          12   records of the action[.]”). The Federal Rules of Civil Procedure expressly provide for the
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                                                                                          13   protection of trade secrets, commercial information, and confidential research applications. Fed.

                                                                                          14   R. Civ. P. 26(c)(1)(G). Academy has a strong interest in protecting its trade secrets, but if these

                                                                                          15   Exhibits are not sealed, Academy will lose its trade secrets and will suffer an irreparable injury to

                                                                                          16   its competitive advantage.

                                                                                          17             The privacy rights of the borrowers and Academy outweigh the presumption to public

                                                                                          18   access. First, their privacy rights are recognized and established. See, e.g., Lin v. Suavei, Inc.,

                                                                                          19   No. 3:20-cv-862, 2021 U.S. Dist. LEXIS 245187, at *7 (S.D. Cal. Dec. 23, 2021); Harris v.

                                                                                          20   Superior Court, 3 Cal. App. 4th 661, 664, 4 Cal. Rptr. 2d 564, 567 (1992); Cal.Civ. Code § 3426,

                                                                                          21   et seq. Second, the information contained in Relator’s Response to Academy’s Motion for

                                                                                          22   Summary Judgment provides the public with the information necessary to understand and assess

                                                                                          23   the litigation.

                                                                                          24       II.      Sealing the Exhibits Is the Only Appropriate Remedy to Protect Privacy Interests

                                                                                          25             Sealing the Exhibits is the only appropriate remedy to protect the privacy interests of the

                                                                                          26   borrowers and Academy. The Exhibits described above are voluminous, primarily consist of

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                                                                                          28                                                     -4-
                                                                                                   ACADEMY MORTGAGE CORPORATION'S STATEMENT CONCERNING RELATOR'S MOTION TO CONSIDER
                                                                                                      WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE SEALED, Case No. 3:16-cv-02120 (EMC) (SK)
                                                                                                 Case 3:16-cv-02120-EMC Document 348 Filed 07/14/22 Page 5 of 5



                                                                                           1   confidential information, and would have a deleterious impact on the borrowers and Academy if

                                                                                           2   disclosed.

                                                                                           3                                          CONCLUSION

                                                                                           4          For the foregoing reasons, Academy seeks to seal Exhibits 1-25, 30, 32-37, 40-52, 61-72,

                                                                                           5   75-75ZZZ, and 78-80 to the Declaration of Jamison Joiner.

                                                                                           6

                                                                                           7   DATED: July 14, 2022                               WEINER BRODSKY KIDER PC

                                                                                           8

                                                                                           9                                                      By: /s/ Jason W. McElroy
                                                                                                                                                      Jason W. McElroy
                                                                                          10                                                          Attorneys for Defendant
                                                                                                                                                      ACADEMY MORTGAGE
                          A Professional Corporation formed in the District of Columbia




                                                                                          11                                                          CORPORATION
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                                                                                                  ACADEMY MORTGAGE CORPORATION'S STATEMENT CONCERNING RELATOR'S MOTION TO CONSIDER
                                                                                                     WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE SEALED, Case No. 3:16-cv-02120 (EMC) (SK)
